                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA




 ASSOCIATION OF VILLAGE
 COUNCIL PRESIDENTS, et al.,

                    Plaintiffs,

                    and
                                                          Case No. 3:23-cv-00074-SLG
 CITY OF BETHEL,

                    Intervenor-Plaintiff,

          v.

 NATIONAL MARINE FISHERIES
 SERVICE, et al.,

                    Defendants,

          and

 AT SEA-PROCESSORS
 ASSOCIATION, et al.,

                    Intervenor-Defendants.


    ORDER ON PLAINTIFFS’ MOTION FOR REVISED SCHEDULING ORDER

       Before the Court at Docket 88 is Plaintiffs’ Motion for Revised Scheduling

Order. Federal Defendants and Intervenor-Defendants responded in opposition at

Docket 92 and Docket 91, respectively. Plaintiffs filed a reply at Docket 95.

       On June 28, 2024, this Court granted the eighth motion in a series of motions

filed by the parties seeking a revised Scheduling Order.1 The order incorporated by


1 Docket 65.   Plaintiffs stipulated to six motions: Docket 24, Docket 38, Docket 42, Docket 44, Docket


        Case 3:23-cv-00074-SLG            Document 96        Filed 12/31/24     Page 1 of 3
reference a prior order establishing that briefing on any remedy in this case would

occur after this Court issued a ruling on the parties’ motions for summary judgment.2

This Court therefore entered an order establishing that, if remedy briefing was

necessary, Plaintiffs’ and Intervenor-Plaintiff’s opening briefs regarding the remedy

would be due 30 days after the Court’s decision on the merits, Defendants’ and

Intervenor-Defendants’ responsive briefs regarding the remedy would be due 30 days

after Plaintiffs’ and Intervenor-Plaintiff’s opening remedy briefs, and reply briefs

would be due 14 days thereafter.3 The Court’s June 2024 order indicated that a party

could seek further amendment of the scheduling order “upon a showing of good

cause.”4

       Plaintiffs now seek a revised scheduling order setting a deadline for Plaintiffs’

remedy brief within seven days of this order, with Defendants’ response briefs due

30 days later, and replies due 14 days thereafter.5 They seek such a change “[i]n

light of the ongoing impact of the groundfish fisheries on [Plaintiffs’] interests and the

delay in the schedule resulting from efforts to reach a settlement of this matter.”6

They maintain that completing remedies briefing before a merits decision would



49 and Docket 58, and did not oppose the additional two motions at Docket 46 and Docket 64.
2 Docket 65 at 2; Docket 47 at 2.


3 Docket 47 at 2.


4 Docket 65 at 2.


5 Docket 88 at 5-6.


6 Docket 88 at 2.


Case No. 3:23-cv-00074-SLG, Ass’n of Vill. Council Pres., et al. v. Nat’l Marine Fisheries Serv., et
al.
Order on Plaintiffs’ Motion for Revised Scheduling Order
Page 2 of 3
         Case 3:23-cv-00074-SLG          Document 96       Filed 12/31/24      Page 2 of 3
“allow for more efficient resolution of remedies issues” and would “allow the Court to

issue a final decision on the full set of remedies before the B season for pollock

fishing, which starts June 10, 2025.”7

       However, as Intervenor-Defendants note, Plaintiffs agreed to multiple revisions

of the briefing schedule without raising concerns about the delay in litigation due to

settlement negotiations.8 And, as Federal Defendants point out, Plaintiffs have not

previously sought a merits decision before the beginning of pollock fishing season,

undermining Plaintiffs’ rationale for an amended remedy briefing schedule.9 Finally,

the Court agrees with Defendants that efficiency would not be promoted by revising

the remedies briefing schedule, as merits briefing is complete and the parties’

motions for summary judgment are under advisement. Therefore, the Court finds

that Plaintiffs have not shown good cause to amend the scheduling order. As such,

Plaintiffs’ Motion for Revised Scheduling Order at Docket 88 is DENIED.

       DATED this 31st day of December 2024, at Anchorage, Alaska.


                                                       /s/ Sharon L. Gleason
                                                       UNITED STATES DISTRICT JUDGE




7 Docket 88 at 3.


8 Docket 91 at 2.


9 Docket 92 at 2 (“Since Plaintiffs filed their complaint in April 2023, two B Seasons for pollock fishing

have occurred. Plaintiffs did not request an expedited decision before last year’s B Season, or any
point in this litigation.”).

Case No. 3:23-cv-00074-SLG, Ass’n of Vill. Council Pres., et al. v. Nat’l Marine Fisheries Serv., et
al.
Order on Plaintiffs’ Motion for Revised Scheduling Order
Page 3 of 3
         Case 3:23-cv-00074-SLG            Document 96        Filed 12/31/24      Page 3 of 3
